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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                              LITTLE ROCK DIVISION

KALYN KLEMPIN                                                                     PLAINTIFF

v.                              Case No. 4:15-cv-00393 KGB

CAVALRY SPV I, LLC                                                              DEFENDANT

                                            ORDER

       Before the Court is plaintiff Kalyn Klempin’s motion to dismiss with prejudice (Dkt. No.

4). Ms. Klempin states that the parties have settled this action. The Court grants Ms. Klempin’s

motion to dismiss and hereby dismisses with prejudice this action.

       SO ORDERED this 10th day of July, 2015.



                                                          _______________________________
                                                          Kristine G. Baker
                                                          United States District Judge
